Case1:OO-cv-01217-.]DT-STA Document85 Filed 04/28/05 Pagelon Page 94

z
499 "‘

\<

IN rHE UNITED STATES DISTRICT CoURr
FoR THE WESTERN DISTRICT oF rENNESSEE,,}/:;;>_;,\ ‘°<5’ ,o "* §§

 

EASTERN DIVISIoN ,'§;:;‘-@`i;l;§’/,?O ”'<Q.J
"‘ 55 ' / z .9
/?I/z;`-?__/,~{';,/Q/€
UNITED STATES oF AMERICA ) ' /’5“'<:';;§`-
upon the relation and for the use of the )
TENNESSEE vALLEY AUTHORITY, )
)
Plaintiff, )
)
vS. ) No. 00-1217
)
STEAM MILL FERRY, et al., )
)
Defendants. )
oRDER or REFERENCE

 

This action is hereby referred to United States Magistrate Judge S. Thomas Anderson
for a Settlement conference

IT IS SO ORDERED.

C]Q»WA.M

JAM D. TODD
UNI ED STATES DISTR_ICT JUDGE

QZW <9-0'0$"

DATE

This document entered on the docket sheet In compliance

with Rule 58 and/or 79 (a) FRCP on (Ij ' §§ ‘Q__ §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
case 1:00-CV-012]7 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

C. Mark Donahoe

HARDEE MARTIN DAUSTER & DONAHOE

P.O. Box 98
Jackson7 TN 38302

Kenneth D. Mielke

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KrloX\/ille7 TN 37902--140

Richard W. Vaughn
HARRIS & VAUGHN
1089 West Van Hook St.
Milan7 TN 38358

EdWin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KrloX\/ille7 TN 37902--140

Honorable J ames Todd
US DISTRICT COURT

